Case 1:23-md-03076-KMM Document 20-2 Entered on FLSD Docket 06/16/2023 Page 1 of 2




                                                                      Case No. 1:23-md-03076-KMM




                                 UNITED STATES DISTRICT COURT

                                SOUTHERN DISTRICT OF FLORIDA

                                              MDL No. 3076

                                     Case No. 1:23-md-03076-KMM


   In re FTX CRYPTOCURRENCY                          )
   EXCHANGE COLLAPSE LITIGATION                      )
                                                     )
                                                     )
   This Document Relates To:                         )
                                                     )
          ALL ACTIONS.                               )
                                                     )

                 [PROPOSED]ORDER GRANTING MOTION TO APPEAR
             PRO HAC VICE, CONSENT TO DESIGNATION AND REQUEST TO
            ELECTRONICALLY RECEIVE NOTICES OF ELECTRONIC FILING

          THIS CAUSE having come before the Court on the Motion to Appear Pro Hac Vice for

   Eric Niehaus, Consent to Designation, and Request to Electronically Receive Notices of Electronic

   Filing (the “Motion”), pursuant to the Rules Governing the Admission, Practice, Peer Review, and

   Discipline of Attorneys in the United States District Court for the Southern District of Florida

   and Section 2B of the CM/ECF Administrative Procedures. This Court having considered the

   Motion and all other relevant factors, it is hereby

          ORDERED AND ADJUDGED that:

          The Motion is GRANTED. Eric Niehaus, may appear and participate in this action on

   behalf of Patrick J. Rabbitte and Mark Girshovich. The Clerk shall provide electronic notification

   of all electronic filings to Eric Niehaus, at EricN@rgrdlaw.com.


                                                   -1-
Case 1:23-md-03076-KMM Document 20-2 Entered on FLSD Docket 06/16/2023 Page 2 of 2




                                                             Case No. 1:23-md-03076-KMM


         DONE AND ORDERED in Chambers at Miami County, Florida, this ___ day of June 2023.



                                             _________________________________________
                                             HONORABLE KEVIN MICHAEL MOORE
                                             United States District Judge



         Copies furnished to: All Counsel of Record




                                              -2-
